Case
 Case2:20-cv-01571-JCC Document
      2:20-cv-01571 Document 1-1 7 Filed
                                    Filed10/25/20
                                          11/04/20 Page
                                                    Page1 1ofof7 7




                 Exhibit 1
                   Case
                    Case2:20-cv-01571-JCC Document
                         2:20-cv-01571 Document 1-1 7 Filed
                                                       Filed10/25/20
                                                             11/04/20 Page
                                                                       Page2 2ofof7 7



 1

 2

 3

 4

 5

 6
                                                  E

 7                   SUPERIOR COURT OF WASHINGTON FOR SNOHOMISH COUNTY

 8
     In re:
 9                                                              NO. 18-2-07242-31
     SETH BASIL COLCHESTER,
10                                                              PETITION FOR RETURN OF CHILD
                                     Petitioner                 UNDER THE CONVENTION ON THE
11                                                              CIVIL ASPECTS OF INTERNATIONAL
                  and                                           CHILD ABDUCTION
12
     JEWEL LAZARO,
13
                               Respondent
14

15                                                    I.   INTRODUCTION

16               This Petition is brought pursuant to the Convention on the Civil Aspects of International

17   Child Abduction (hereinafter referred to as “the Convention”), and the International Child

18   Abduction Remedies Act (hereinafter referred to as “ICARA”). The Convention came into

19   effect in the United States on July 1, 1988. The convention came into effect as between the

20   United States and Spain on July 1, 1988.

21               The Convention is a treaty between sovereign states, and therefore is entitled to the same

22   weight and deference as the Constitution of the United States. The objectives of the Convention

23   are to: (a) secure the prompt return of children wrongfully removed from or retained in any

      PETITION FOR RETURN OF CHILD UNDER THE
      CONVENTION ON THE CIVIL ASPECTS OF
      INTERNATIONAL CHILD ABDUCTION – 1                                             1301 - Fifth Avenue, Suite 3401
                                                                                    Seattle, Washington 98101-2605
      Petition for Return of Child                                                           (206) 623-6501
                      Case
                       Case2:20-cv-01571-JCC Document
                            2:20-cv-01571 Document 1-1 7 Filed
                                                          Filed10/25/20
                                                                11/04/20 Page
                                                                          Page3 3ofof7 7



 1   Contracting State; and (b) ensure that rights of custody and of access under the law of one

 2   Contracting State are effectively respected in the other Contracting States.1

 3                                                 II.   JURISDICTION

 4                  The Convention is enforced in the United States via the ICARA. Original jurisdiction is

 5   concurrent in both state and federal courts.2 Any person seeking to initiate judicial proceedings

 6   for the return of a child may file a civil action in the appropriate court where the child is located.3

 7   Here, the Respondent, Jewel Lazaro and the minor child,                   SL-C                                    , are

 8   currently residing in Snohomish County, Washington. Therefore, this Court has jurisdiction.

 9                                III.    STATUS OF THE PETITIONER AND MINOR CHILD

10                  The Petitioner, Seth Colchester, and the Respondent, Jewel Lazaro, are the biological

11   parents of SL-C                                (age 5). The Petitioner has a right of custody to the child

12   in this case within the meaning of Articles 3 and 5 of the Convention in that he acknowledged

13   the child’s birth and is registered as her father. At the time of removal, the Petitioner was

14   exercising his rights of custody with the child.

15                        IV.           WRONGFUL REMOVAL AND RETENTION OF THE CHILD

16                  Petitioner has sole custody of the minor child and was exercising his rights to custody

17   pursuant to a final custody order and parenting plan dated January 9, 2020 issued after a custody

18   trial by the Court of First Instance No. 15 of Barcelona (Family Division) (hereinafter “custody

19   order”). This custody order was interrupted when the Respondent removed the child from her

20   habitual residence without the Petitioner’s consent.

21

22
     1
       See Convention on the Civil Aspects of International Child Abduction at Article 1.
     2
       22 USC 9003(a)
23   3
       22 USC 9003(b)


         PETITION FOR RETURN OF CHILD UNDER THE
         CONVENTION ON THE CIVIL ASPECTS OF
         INTERNATIONAL CHILD ABDUCTION – 2                                                  1301 - Fifth Avenue, Suite 3401
                                                                                            Seattle, Washington 98101-2605
         Petition for Return of Child                                                                (206) 623-6501
                      Case
                       Case2:20-cv-01571-JCC Document
                            2:20-cv-01571 Document 1-1 7 Filed
                                                          Filed10/25/20
                                                                11/04/20 Page
                                                                          Page4 4ofof7 7



 1                  This is the third time that Respondent has unlawfully abducted the child to the United

 2   States in violation of lawful court orders in Spain, and the second Petition for Return of Child

 3   under the Hague Convention that Petitioner been required to file. On or around April 14, 2020,

 4   the Respondent took the child from Barcelona, Spain and traveled to Snohomish County,

 5   Washington, without the Petitioner’s knowledge or consent. The Respondent has refused to

 6   disclose her exact whereabouts to the Petitioner. The Respondent never provided consent for

 7   child to travel to the United States.

 8                  The Petitioner has since applied to the Central Authorities of Spain and the United States

 9   for the return of the child to her habitual residence in Spain.4 The United States Central

10   Authority for the Hague Abduction Convention has accepted the Petitioner’s Hague

11   Application.5 Counsel for Petitioner has requested that Respondent voluntarily return the child

12   to Petitioner, but Respondent (through counsel) has refused. The Respondent has continued to

13   fail to return the child to Spain – necessitating these proceedings.

14                                      V.   CUSTODY PROCEEDINGS IN SPAIN

15                  The parties were engaged in nearly two years of litigation concerning the custody of the

16   child in Spain, which included a comprehensive parenting evaluation and a full custody trial.

17   After the trial, the Spanish courts entered a final custody order and parenting plan on January

18   9, 2020, awarding sole custody to Petitioner. Subsequent to Respondent’s abduction of the

19   child in April of 2020, the Spanish Courts issued an order that declared that Spain is the child’s

20

21

22
     4
      See Declaration of Seth Colchester, at Sealed Exhibit I, filed separately as Sealed Confidential Report.
     5
      See Declaration of Seth Colchester, at Sealed Exhibit I, at page 12, filed separately as Sealed Confidential
23
     Report.


         PETITION FOR RETURN OF CHILD UNDER THE
         CONVENTION ON THE CIVIL ASPECTS OF
         INTERNATIONAL CHILD ABDUCTION – 3                                                1301 - Fifth Avenue, Suite 3401
                                                                                          Seattle, Washington 98101-2605
         Petition for Return of Child                                                              (206) 623-6501
                      Case
                       Case2:20-cv-01571-JCC Document
                            2:20-cv-01571 Document 1-1 7 Filed
                                                          Filed10/25/20
                                                                11/04/20 Page
                                                                          Page5 5ofof7 7



 1   habitual residence, and that the child’s removal from her habitual residence, by the Respondent,

 2   was illegal.

 3                  Pursuant to Article 16 of the Convention, the Petitioner respectfully requests that the

 4   Courts of this state stay any other proceedings concerning the custody of the child, pending a

 5   return hearing of this matter.

 6                                        VI.    PROVISIONAL REMEDIES

 7                  Any Court exercising jurisdiction of an action brought under 25 USC 9003(b) may take,

 8   or cause to be taken, measures under Federal or State law, as appropriate, to protect the well-

 9   being of the child involved, or to prevent the child’s further removal or concealment before the

10   final disposition of the Petition.6

11                  Here, the Petitioner believes that, upon being informed of these proceedings, the

12   Respondent may further abduct and abscond with the child.7 Thus, the Petitioner requests that

13   this Court issue an immediate Writ of Habeas Corpus and Warrant in Aid of Writ of Habeas

14   Corpus, which requires any and all law enforcement officials in the State of Washington to take

15   the child into immediate custody and place the child in the custody of the Petitioner’s agent

16   until a determination is made under this Petition or until further order of the Court.

17                  Pending a return hearing, and further Court order, it is requested that this Court issue an

18   immediate order prohibiting the removal of the child from the jurisdiction of this Court, unless

19   she is placed with the Petitioner or his agent.

20                  The Petitioner further requests immediate access to the child, and that the child’s

21   passport be turned to her designated agent for safekeeping until the Petitioner can arrive to

22
     6
         22 USC 9004(a)
23   7
         See Petition for Writ of Habeas Corpus and Warrant in Aid of Writ of Habeas Corpus filed separately herewith.


         PETITION FOR RETURN OF CHILD UNDER THE
         CONVENTION ON THE CIVIL ASPECTS OF
         INTERNATIONAL CHILD ABDUCTION – 4                                               1301 - Fifth Avenue, Suite 3401
                                                                                         Seattle, Washington 98101-2605
         Petition for Return of Child                                                             (206) 623-6501
                   Case
                    Case2:20-cv-01571-JCC Document
                         2:20-cv-01571 Document 1-1 7 Filed
                                                       Filed10/25/20
                                                             11/04/20 Page
                                                                       Page6 6ofof7 7



 1   Washington State to retrieve the child. Although the Petitioner is currently in Spain, he will

 2   give authority to a designated agent/person in the United States to act as his agent until he can

 3   travel to the United States to retrieve the child.

 4                                           VII.     RELIEF REQUESTED

 5        The Petitioner respectfully requests that this Court:

 6               a. Issue a Writ of Habeas Corpus and Warrant in Aid of Writ of Habeas Corpus,

 7                     directing the Snohomish County Sheriff to take the child into custody;

 8               b. Set an expedited hearing as soon as possible, after the child is taken into custody, to

 9                     make a determination regarding the return of the child. If a return hearing cannot be

10                     held on the same day the child is recovered, the child should be placed into the care

11                     and custody of the Department of Social and Health Services (DSHS~DCFS), the

12                     Petitioner, or the Petitioner’s agent (if available) until the first date court is in session

13                     following the date of the recovery of the child;

14               c. Following the return hearing, order that the child shall be turned over to Petitioner

15                     or to the custody of an agent for the Petitioner, as designated by the Petitioner, until

16                     such a time that Petitioner can come to the United States to take custody and return

17                     the child to Spain;

18               d. Order that the child shall not be removed from the jurisdiction of this Court, pending

19                     the hearing;

20               e. Order the Respondent to pay all expenses incurred by the Petitioner in this matter

21                     including the Petitioner and child’s airfare, hotel, nourishment, other travel expenses

22                     and necessities, and attorneys’ fees and costs incurred by the Petitioner in securing

23


      PETITION FOR RETURN OF CHILD UNDER THE
      CONVENTION ON THE CIVIL ASPECTS OF
      INTERNATIONAL CHILD ABDUCTION – 5                                                 1301 - Fifth Avenue, Suite 3401
                                                                                        Seattle, Washington 98101-2605
      Petition for Return of Child                                                               (206) 623-6501
Case 2:20-cv-01571-JCC Document 7 Filed 11/04/20 Page 7 of 7
